Case: 2:11-cv-00056-DCR-JGW Doc #: 45 Filed: 01/31/13 Page: 1 of 1 - Page ID#: 1201




                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                     ________________

                                        No: 12-5337
                                     ________________

                                                         Filed: January 31, 2013

 JOHN WARDIA

                 Plaintiff - Appellant

 v.

 JUSTICE AND PUBLIC SAFETY CABINET DEPARTMENT OF JUVENILE JUSTICE;
 CAMPBELL COUNTY REGIONAL JUSTICE DEPARTMENT OF CORRECTIONS

                 Defendants - Appellees



                                             MANDATE

      Pursuant to the court's disposition that was filed 01/03/2013 the mandate for this case hereby

 issues today.



 COSTS: None
